 AO 440 iRev 06/12) Summons m a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                               Eastern District of North Carolina


   Greenfund, IM Nobody Music, Pimp Yug, My Blue                )
   Car Music Company, W. Chappell Music Corp dba                )
    WC Music Corp, and Mark Hoppus dba HMNIM,                   )
                                                                )
                           P(amtig(s)                           )
                                                                        Civil Action No.
                                                                )
     02 Holdings, LLC and Michael D. Olander, Jr,               )
                                                                )
                                                                )
                                                                )
                          Defendant(s)                          )

                                               SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) Michael D. Olander, Jr.
                                    3329 Granville Drive
                                    Raleigh, NC 27609




         A lawsuit has been filed against you.

         Wtthin 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address are: Michael J Allen
                                 Carruthers & Roth, P.A.
                                 235 N Edgeworth Street
                                 Greensboro, NC 27401



        If you fail to respond, judgment by default will be entered against you for the relief demanded m the complamt.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:
                                                                                     Signature af Clerk or Deputy Clerk




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 Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Ci u. P. 4 (l))

          This summons for (name of mdimdual and tule, if any)
 was received by me on (tiaie)

          CI I personally served the summons on the individual at (place)

                                                                                    on (date)                             ; or

          CI I left the summons at the individual's residence or usual place of abode with (name)

                                                                  , a person   of suitable age and discretion who resides there,
          On (daie)                              ,   and mailed a copy to the individual's last known address; or

          CI I served the summons on (name of mdividual)                                                                           , who is

           designated by law to accept service of process on behalf of (name of orgamzation)
                                                                                    On (date)                             ; or


          CI I returned the summons unexecuted because                                                                                  , OI'


             Other (specify).




         My fees are $                          for travel and $                        for services, for a total of $           p pp


         I declare under penalty of perjury that this information is true.




Date.
                                                                                                Sei ver 's signature



                                                                                            Prmted name and utle




                                                                                                Server 's address

Additional information regarding attempted service, etc:




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